                  IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          CHARLOTTE DIVISION
                                 3:95cr31

UNITED STATES OF AMERICA,                         )
                                                  )
                                                  )
Vs.                                               )              ORDER
                                                  )
MARCUS D. MASSEY,                                 )
                                                  )
                 Defendant.                       )
_______________________________                   )

       THIS MATTER is before the court on defendant’s pro se Motion for Early

Termination of Supervised Release. In that motion, defendant states that his supervision

officer has told him that he would support early termination. This motion will be denied

without prejudice as the proper method for early termination is for the supervising officer to

apply to the court for early termination. Having considered defendant’s motion and reviewed

the pleadings, the court enters the following Order.



                                          ORDER

       IT IS, THEREFORE, ORDERED that defendant’s pro se Motion for Early

Termination of Supervised Release (#371) is DENIED WITHOUT PREJUDICE.




                                              Signed: November 20, 2012




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